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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  WOLFRAM ARNOLD, ERIK
  FROESE, TRACY HAWKINS,
  JOSEPH KILLIAN, LAURA CHAN
  PYTLARZ, and ANDREW
  SCHLAIKJER,

                               Plaintiffs,
                                                C.A. No. 1:23-cv-528-CFC-CJB
                  v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X
  HOLDINGS I, INC. and ELON MUSK,

                               Defendants.


  STIPULATION AND [PROPOSED] ORDER REGARDING TEMPORARY
   STAY AND DEFERRAL OF RULING ON DEFENDANT X CORP. F/K/A
    TWITTER, INC.’S AND X HOLDINGS CORP. F/K/A X HOLDINGS I,
     INC.’S MOTION TO DISMISS AND DEFENDANT ELON MUSK’S
                       MOTION TO DISMISS

          Plaintiffs Wolfram Arnold, Erik Froese, Tracy Hawkins, Joseph Killian,

 Laura Chan Pytlarz, and Andrew Schlaikjer (“Plaintiffs”) and Defendants X Corp.

 f/k/a Twitter, Inc., X Holdings Corp. f/k/a X Holdings I, Inc., and Elon Musk

 (“Defendants”) (Plaintiffs and Defendants shall collectively be referred to as the

 “Parties”), by and through their undersigned counsel, hereby stipulate as follows:

          WHEREAS, counsel for the Parties have met and conferred and agreed to

 mediate Plaintiffs’ claims;


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          WHEREAS, the mediation is scheduled to occur on February 7, 2024;

          WHEREAS, in service of judicial economy, counsel for the Parties have

 conferred and agreed to request a temporary stay of this Action, including all

 currently pending party and third-party discovery deadlines, briefing schedules,

 court conferences, motion hearings and Court rulings through February 12, 2024;

 and

          WHEREAS, the Parties specifically request that the Court defer ruling on

 Defendants X Corp. f/k/a Twitter, Inc.’s and X Holdings Corp. f/k/a X Holdings I,

 Inc.’s pending Motion to Dismiss (D.I. 14-15) and defer ruling on Defendant Elon

 Musk’s pending Motion to Dismiss (D.I. 17-18), until at least February 12, 2024.

          NOW, THEREFORE, the Parties stipulate to the following, subject to the

 Court’s approval:

          1.      This Action shall be stayed through February 12, 2024;

          2.      All pre-trial deadlines, discovery deadlines, including currently

 pending party and third-party discovery, briefing schedules, and court conferences

 shall be continued to dates after February 12, 2024;

          3.      The Court shall defer ruling on Defendants X Corp. f/k/a Twitter,

 Inc.’s and X Holdings Corp. f/k/a X Holdings I, Inc.’s pending Motion to Dismiss

 (D.I. 14-15), until a date on or after February 12, 2024;




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          4.      The Court shall defer ruling on Defendant Elon Musk’s pending

 Motion to Dismiss (D.I. 17-18), until a date on or after February 12, 2024; and

          5.      The Parties shall file a joint report with the Court on February 12,

 2024 updating the Court regarding status.



 Dated: December 18, 2023

 CHRISTENSEN & DOUGHERTY LLP MORGAN, LEWIS & BOCKIUS, LLP

 /s/ Joseph L. Christensen                      /s/ Jody C. Barillare
 Joseph L. Christensen (#5146)                  Jody C. Barillare (#5107)
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 Attorney for Plaintiffs                        Attorney for Defendants



          SO ORDERED this ___________ day of __________________, 2023.



                                                       The Hon. Christopher J. Burke




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